Case 18-60270-tnw       Doc 72    Filed 01/29/19 Entered 01/29/19 13:35:56            Desc Main
                                  Document     Page 1 of 4



                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF KENTUCKY
                                   London Division

IN RE: Hunter Blane Martin
       Marie Jayme-Martin                                          Case No. 18-60270
       Debtors


                          REPLY TO BOTH THE MOTION TO
                            ALTER, AMDEND OR VACATE
                        AND MOTION OF AARON HOSTETTLER
                            TO WITHDRAW AS COUNSEL


       Come now the Debtors, Hunter Blane Martin and Maria Lelita Jayme Martin, and for their

reply to the Motion to Alter, Amend or Vacate, filed by the judgment creditor, Heidi Weatherly

state as follows:


       The Debtors, Hunter Blane Martin and Maria Lelita Jayme-Martin filed for relief under

Chapter 7 of the United States Bankruptcy Code on the 8th day of March 2018. On the 6th day of

July 2018, the Judgment Creditor and Movant herein, filed a Motion to Dismiss for Cause and Bad

Faith [ECF No 32] After an evidentiary hearing held on the 26th day of September 2018, the Court

issued a Memorandum Opinion [ECF 68] on November 21, 2018, denying Heidi Weatherly’s

motion to dismiss the Debtors petition for bad faith. On November 29, 2018, Heidi Weatherly filed

a motion to Alter, Amend or Vacate the Court’s Memorandum Opinion. For reasons set forth

herein, the Debtors pray that the Motion to Alter, Amend or Vacate be OVERRULED.


       Although the Federal Rules of Bankruptcy Procedure do not contemplate a motion to

reconsider, courts treat such motions as the motion to alter or amend judgment

under Rule 9023. See, e.g., Markowitz v. Campbell (In re Markowitz), 190 F.3d 455, 460 (6th

Cir.1999). Rule 9023 fully incorporates its civil counterpart, Federal Rule of Civil Procedure 59,
Case 18-60270-tnw         Doc 72    Filed 01/29/19 Entered 01/29/19 13:35:56             Desc Main
                                    Document     Page 2 of 4



with one difference: Except as provided in this rule and Rule 3008, [Federal Rule of Civil

Procedure 59] applies in cases under the Code. Haney v. Educ. Credit Mgmt. Corp., No. CIV. 12-

08-ART, 2012 WL 3683533, (E.D. Ky. Aug. 27, 2012).


         Under the applicable rule, this Court may only consider relief from an Order for any of the

following reasons: (1) mistake, inadvertence, surprise or excusable neglect; (2) newly discovered

evidence that, with reasonable diligence, could not have been discovered in time to move for a

new trial under Fed. R. Civ. P. 59; fraud (intrinsic or extrinsic) misrepresentation, or misconduct

by an opposing party; 94) the judgment is void;(5) the judgment has been satisfied, released or

discharged; it is based on an earlier judgment that has been reversed or cancelled or apply it

prospectively is no long equitable; or (6) any other reason that justifies relief. See Fed. R. Civ. P.

(60b); see also, Fed R. Bank. P. 9024. In explaining the movants burden, other courts have stated

that a motion for reconsideration should be based on one of three grounds: 1) an intervening change

in controlling law; 2) the availability of new evidence; or 3) the need to correct clear and manifest

injustice. See, In re Envirocon Int’l Corp, 218 BR at 979 (citing Kern-Tulare Water District v. City

of Bakersfield, 634 F. Supp. 656, 665 (E.D. Cal. 1986). However, the bankruptcy court will not

reconsider an order or judgment when the motion for reconsideration fails to raise new issues. See

Gov’t Personnel Servs., v. Gov’t Personal Mutual Life Insurance CO., 759 F. Supp 792 (MD Fla.

1991).


         A review of the motion to alter, amend or vacate of the movant simply attempts to reargue

the case. The motion contains no citations to law or to the record of the hearing. The movant fails

to cite any change in controlling law; any new evidence or the need to correct clear and manifest

injustice. Envirocon, supra. All matters now raised by the movant, are nothing but re-arguments
Case 18-60270-tnw       Doc 72    Filed 01/29/19 Entered 01/29/19 13:35:56             Desc Main
                                  Document     Page 3 of 4



of matters known to the movant at the evidentiary hearing held on the 26th day of September 2018.

The movants now seek a “second bite of the apple” which the applicable law will not allow.


       On January 28, 2019, the undersigned received a motion from counsel for the movant that

he be allowed to withdraw from representation of the movant citing “irreconcilable differences”

with his client. Although, the Martins have no objection to the proposed withdrawal, the Martins

do object to any further delays by the Movant, which will once again delay their discharge. As

stated above, the Martins filed for chapter 7 relief on March 8th 2018. The 341 hearing was held

on April 26th 2018, the evidentiary hearing on the motion to dismiss for cause and for bad faith

was held on September 26th 2018. As of the date of this response, January 29th 2019 the Martins

have now been in Chapter 7 bankruptcy for 327 days.

       THEREFORE, the undersigned respectfully requests that the Court find, based upon the

pleadings previously filed herein, that the motion to alter, amend or vacate of the Movant be

OVERRULED;

       Further, that Aaron Hostettler be allowed to withdraw as counsel of record for Movant.


                                                           Respectfully submitted,

                                                           /s/ D. Bruce Orwin
                                                           D. BRUCE ORWIN
                                                           Counsel for Hunter Blane Martin
                                                           and Maria Jayme-Martin
Case 18-60270-tnw         Doc 72     Filed 01/29/19 Entered 01/29/19 13:35:56                Desc Main
                                     Document     Page 4 of 4




                                    CERTIFICATE OF SERVICE

The undersigned hereby certifies that an original of this document was electronically filed with the Court
and copies of the foregoing were electronically mailed to Hon. Aaron Hostettler and Trustee, James
Westenhoefer and mailed, postage pre-paid to Heidi Weatherly, PO Box 1094, London, Kentucky 40473
on this the 29th day of January 2019.




                                                                 /s/ D. Bruce Orwin
                                                                 D. BRUCE ORWIN
                                                                 P.O. Box 716
                                                                 Somerset, KY 42502-0716
                                                                 606-678-4386
                                                                 Counsel for Hunter Blane Martin
                                                                 and Maria Jayme-Martin
